        Case 4:20-cr-00026 Document 432 Filed on 03/01/22 in TXSD Page 1 of 2
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                             UNITED STATES DISTRICT COURT                                 March 01, 2022
                              SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §
                                                 §    Criminal No. 4:20-CR-26
                                                 §
VICTOR CAMACHO                                   §


                         PRELIMINARY ORDER OF FORFEITURE

         Following the Defendant’s conviction and based on the Defendant’s plea agreement and

the evidence in the record, the Court finds that the United States of America has established the

requisite nexus between the property listed below and the offense of conviction. It is ORDERED

that:

         1.      the following property is forfeited to the United States:

                       a. Barrett 82A1 .50 BMG caliber rifle with serial number AA009174
                       b. Diamondback Arms, Inc., Model DB-10, Cal. 308, bearing serial
                          number DB-7007498
                       c. Diamondback Arms, Inc., Model DB-10, Cal. 308, bearing serial
                          number DB-7003521
                       d. Diamondback Arms, Inc., Model DB-10, Cal. 308, bearing serial
                          number DB-7003463
                       e. Diamondback Arms, Inc., Model DB-10, Cal. 308, bearing serial
                          number DB-7007490
                       f. Glock Pistol, model 19C 9mm, bearing serial number ADKG380
                       g. 100 rounds of .50 caliber ammunition
                       h. 10 Barrett Manufacturing .50 caliber magazines
                       i. 10 PMAG D-50 .308 caliber magazines
                       j. 10 5.7x28 mm caliber magazines

         2.     the United States of America shall publish notice of this forfeiture order and shall

send notice to any person who reasonably appears to be a potential claimant with standing to

contest the forfeiture in the ancillary proceeding;
     Case 4:20-cr-00026 Document 432 Filed on 03/01/22 in TXSD Page 2 of 2




        3.      any person, other than the Defendant, asserting a legal interest in the forfeited

property may, within thirty (30) days of the final publication of notice or receipt of notice,

whichever is earlier, petition the Court for a hearing to adjudicate the validity of the alleged interest

in the property pursuant to Title 21, United States Code, Section 853(n). The petition shall be

signed by the petitioner under penalty of perjury and shall set forth the nature and extent of the

petitioner’s right, title, or interest in that property, the time and circumstances of the petitioner's

acquisition of the right, title, or interest in that property, and any other facts which support the

petitioner’s claim and the relief sought. The petition shall be filed with the United States District

Clerk, located at United States Courthouse, 515 Rusk, Houston, Texas 77002. A copy of the

petition shall also be sent to the United States Attorney’s Office, 1000 Louisiana, Suite 2300,

Houston, Texas, 77002; and

        4.      that pursuant to Rule 32.2(b)(4)(A), this Preliminary Order of Forfeiture shall

become final immediately as to Defendant, and shall be made part of the Defendant’s sentence and

included in the judgment.

                            1ST day of ______________,
        SIGNED on this the ______       March          2022.



                                                        _________________________
                                                        GREGG COSTA
                                                        United States District Judge




                                                   2
